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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                                 )
    UNITED STATES OF AMERICA,                    )
                                                 )          Case No. 1:22-cv-02292-CKK
                       v.                        )
                                                 )
           PETER K. NAVARRO,                     )
                                                 )
                  Defendant.                     )
                                                 )

                                  NOTICE OF COMPLIANCE

       Defendant Peter K. Navarro respectfully submits this notice to advise the Court that

earlier today government counsel was provided with a cross-reference to permit the government

to identify the records the Court identified as definitively Presidential records.

       By way of background, on March 22, 2024, Defendant Peter K. Navarro responded (ECF

No. 40) to the Court’s March 5, 2024 Show Cause Order (ECF No. 39). Later that day, the Court

Ordered the government to respond on before March 29, 2024, which they did. (ECF No. 41).

The Court subsequently referred this matter to Magistrate Judge Harvey to ensure further

compliance with its Judgment. Order (April 9, 2024) (ECF No. 42).

       In both the government’s response (ECF No. 41) and the Court’s subsequent Order (ECF

No. 42), reference was made to the government’s inability to cross-reference the records the

Court definitively concluded were Presidential records to the records Dr. Navarro produced to

the government. See Response, at 3 n.1 (Mar. 29, 2024) (ECF No. 041) (“Navarro’s response to

the show cause order discussed at length twelve emails that the Court concluded were

Presidential records. . . The records produced on March 20, 2024, appear to use a different

numbering scheme, and therefore NARA is currently unable to determine which records are the

ones discussed in Navarro’s motion.”). This was an unintentional oversight. Accordingly, Dr.

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Navarro provided government counsel with a cross-reference to permit the government to

identify the records the Court identified as definitively Presidential records.

 Dated: April 9, 2024                Respectfully submitted,

                                            /s/ Stanley E. Woodward, Jr.
                                     Stanley E. Woodward, Jr. (D.C. Bar No. 997320)
                                     Stan M. Brand (D.C. Bar No. 213082)
                                     BRAND WOODWARD LAW, LP
                                     400 Fifth Street, Northwest, Suite 350
                                     Washington, DC 20001
                                     202-996-7447 (telephone)
                                     202-996-0113 (facsimile)
                                     Stanley@BrandWoodwardLaw.com

                                     Counsel for Defendant Dr. Peter K. Navarro




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                                  CERTIFICATE OF SERVICE

        On April 9, 2024, the undersigned hereby certifies that a true and correct copy of the

foregoing was electronically filed and served via the CM/ECF system, which will automatically

send electronic notification of such filing to all registered parties.

                                                       /s/ Stanley E. Woodward, Jr.
                                                Stanley E. Woodward, Jr. (D.C. Bar No. 997320)
                                                BRAND WOODWARD LAW, LP
                                                400 Fifth Street, Northwest, Suite 350
                                                Washington, DC 20001
                                                202-996-7447 (telephone)
                                                202-996-0113 (facsimile)
                                                Stanley@BrandWoodwardLaw.com
